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                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

    ROSS HATHAWAY                                        Case No. 4:15-cv-00086-DCN

          Plaintiff,                                     MEMORANDUM DECISION AND
                                                         ORDER
           v.

    IDAHO PACIFIC CORPORATION

          Defendant.


                                       I. INTRODUCTION

        Pending before the Court are Defendant Idaho Pacific Corporation’s (“IPC”) Rule

43 Motion (Dkt. 205) and third-party Angela Thibert’s Motion to Quash Subpoena to

Appear and Testify at a Hearing or Trial in a Civil Action (Dkt. 216). Having reviewed the

record and briefs, the Court finds that the facts and legal arguments are adequately

presented. Accordingly, in the interest of avoiding further delay, and because the Court

finds that the decisional process would not be significantly aided by oral argument, the

Court will decide the Motions without oral argument. Dist. Idaho Loc. Civ. R. 7.1(d)(1)(B).

                                           II. BACKGROUND1

        In September 2019, IPC subpoenaed Angela Thibert, who works for Liberty Mutual

and assisted in Ross Hathaway’s claims, to testify. Thibert, who acts as a primary caregiver


1
 The underlying facts of the case, which are well known to the parties, have been set out numerous times
in previous orders. The Court will not present them here.

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to her husband due to his serious medical needs, informed IPC that she could not travel

from where she lives (Middleton) to where trial will be held (Pocatello), about 218 miles

as the crow flies. Because there are no family or friends who can care for her husband,

Thibert states that she must always be within a half hour of her home. Though she works

full-time, Thibert spends half of her time working from home so she can tend to her

husband’s medical needs.

       Due to Thibert’s duties as a caregiver, IPC filed the pending Rule 43 Motion seeking

an alternative way to present Thibert’s testimony other than having her appear for trial in

Pocatello. Thibert also filed a Motion to Quash her subpoena. Trial is set to commence on

October 28, 2019.

                               III. LEGAL STANDARD

       There are multiple remedies available when a witness would have trouble testifying

at trial. Federal Rule of Civil Procedure 43 states in part that “[f]or good cause in

compelling circumstances and with appropriate safeguards, the court may permit testimony

in open court by contemporaneous transmission from a different location.” Fed. R. Civ. P.

43(a). Similarly, when a subpoenaed person can show that testifying at trial would subject

her to undue burden, a court must quash or modify the subpoena. Fed. R. Civ. P. 45(3).

                                     IV. ANALYSIS

       As a preliminary matter, the Court finds that Thibert’s testimony is relevant.

Hathaway challenges any testimony she may provide as irrelevant because he is not making

any claim against Liberty Mutual and that any testimony concerning Liberty Mutual’s

process for handling claims does not affect his claims against IPC. Hathaway is

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overlooking the fact that IPC sent Thibert an email stating that it did not know how to

handle Hathaway’s claim, and that IPC attached multiple documents to the aforementioned

email, including a doctor’s report supporting Hathaway’s shoulder injury claim. Thibert’s

testimony on her interactions with IPC and how she handled the discrepancy between IPC’s

report, which excluded information about Hathaway’s shoulder injury, and the documents

attached to the email, is therefore relevant.

       Turning now to the practical difficulty regarding any testimony Thibert may

provide, based on the briefing and affidavits contained in the two pending motions, the

Court finds that requiring Thibert to attend trial in Pocatello would subject her to an undue

burden. As such, the Court will not require Thibert to travel to Pocatello for trial and hereby

quashes the subpoena.

       Further, the Court declines to require Thibert to testify through a contemporaneous

transmission from the federal courthouse located in Boise, Idaho. Though that location is

much closer to Thibert’s home and husband, the Court would like to avoid overseeing one

trial simultaneously taking place in two places hundreds of miles apart—it is difficult

enough to oversee trial in just one location.

       With that being said, the Court will provide a way to introduce Thibert’s testimony.

The Court will allow IPC to take a video deposition of her for use at trial.2 The parties must

work together to determine the date, time, and location of the deposition. The deposition

must occur within 40 miles of Thibert’s residence. The parties may then use Thibert’s


2
 This video deposition may be done regardless of the number of depositions already taken in this matter
and regardless of whether Thibert has already been deposed.

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testimony, to the extent it is admissible and relevant, at trial pursuant to Federal Rule of

Civil Procedure 32 and any other applicable rules. It will be IPC’s responsibility to serve

a subpoena if needed to ensure the witness’s attendance.

                                       V. ORDER

       IT IS HEREBY ORDERED THAT:

   1. IPC’s Rule 43 Motion is DENIED.

   2. Thibert’s Motion to Quash is GRANTED.

   3. The parties may depose Thibert and use her testimony in accordance with this

       order.


                                                 DATED: October 21, 2019


                                                 _________________________
                                                 David C. Nye
                                                 Chief U.S. District Court Judge




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